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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                     )
ELECTRONIC PRIVACY INFORMATION                       )
CENTER,                                              )      Civil Action No: 14-1217 (RBW)
                                                     )
                              Plaintiff,             )              ECF
                                                     )
       v.                                            )
                                                     )
CUSTOMS AND BORDER PROTECTION,                       )
                                                     )
                              Defendant.             )
                                                     )

        DEFENDANT’S PARTIAL CONSENT MOTION FOR ENLARGEMENT
             OF TIME TO FILE SUMMARY JUDGMENT MOTION

       Defendant, by and through undersigned counsel, respectfully moves this Court pursuant

to Federal Rule of Civil Procedure 6(b)(1)(A) for an enlargement of time of three weeks to, and

including, June 8, 2015, to file a motion for summary judgment in this action brought under the

Freedom of Information Act.1 The current briefing schedule was set by the Court’s Minute Order

dated March 25, 2015. This is Defendant’s first request to extend the motions filing deadline.

Pursuant to Local Rule 7(m), undersigned counsel has conferred with the plaintiff, through

counsel, and plaintiff advised it will consent only to a one-week extension of time. A proposed

order granting this motion and extending all deadlines by three weeks is attached. In further

support of this motion, defendant relies upon the following points and authorities.

       There is good cause to grant this motion. The agency has prepared a draft Vaughn

declaration by the April 30, 2015 deadline set by the Court’s March 25 Order. In the interim,



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  Undersigned counsel acknowledges that the Court’s Standing Order for Civil Cases includes a
four- day rule for extensions of time and requests that the Court accept the motion as timely.
Undersigned counsel required the additional time to obtain plaintiff’s position as to the request
and also to assess the amount of time required in light of revisions to the Vaughn declaration.
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undersigned counsel has reviewed the declaration and conferred and consulted with the agency

about revisions to the declaration. In addition, the agency has reviewed its prior withholdings as

part of this ongoing process and decided to release a 34-page document that had been previously

withheld in full. Although the agency is in the process of finalizing the declaration, undersigned

counsel requires additional time to prepare and file a motion for summary judgment. This

request is based, in part, on the need to schedule certain other time-sensitive matters this week,

including preparation of the expert witnesses set to testify for the government at the June 10,

2015 patent trial in SD3, LLC v. Lee, Civil Action No. 08-1242 (RCL) (witnesses were not

otherwise available until the week of trial), and preparation of multiple witnesses to be deposed

next week in TerVeer v. Billington, Civil Action No. 12-1290 (CKK), a case involving a sexual

orientation   discrimination   claim.   Undersigned    counsel    also   requests   three   weeks,

notwithstanding plaintiff’s consent to a shorter period of time, due to the press of other business

over the next three weeks, including preparation for the SD3 trial and dispositive motions due in

several other cases during this time period.

       WHEREFORE, Defendant requests that the Court grant this motion for an enlargement

of time.




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                           Respectfully submitted,

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